4:07-cr-03117-RGK-DLP            Doc # 122       Filed: 04/29/08      Page 1 of 2 - Page ID # 444




                              UNITED STATES DISTRICT COURT FOR
                                  THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )
                                Plaintiff,              )       4:07CR3117
                                                        )
                        vs.                             )       FINAL ORDER OF
                                                        )       FORFEITURE
                                                        )
SANTIAGO ALMAZAN-RIOS,                                  )
                                                        )
                                Defendant.              )


        NOW ON THIS 29th day of April, 2008, this matter comes on before the Court upon the

United States’ Motion for Final Order of Forfeiture. The Court reviews the record in this case and,

being duly advised in the premises, find as follows:

        1. On February 11, 2008, the Court entered a Preliminary Order of Forfeiture pursuant to the

provisions of Title 21, United States Code, Sections 841(a)(1), 841(b)(1), Title 18, United States

Code, Sections 924(c), 924(d) and Title 28, United States Code, Section 2461(c), based upon the

Defendant's plea of guilty to Counts I, II and III of the Indictment filed herein. By way of said

Preliminary Order of Forfeiture, the Defendant’s interest in a Star semi-automatic handgun, serial

number 015909, was forfeited to the United States.

        2. On March 13, 20 and 27, 2008, the United States published in a newspaper of general

circulation notice of this forfeiture and of the intent of the United States to dispose of the property

in accordance with the law, and further notifying all third parties of their right to petition the Court

within the stated period of time for a hearing to adjudicate the validity of their alleged legal

interest(s) in said property. An Affidavit of Publication was filed herein on April 28, 2008 (Filing

No. 115).
4:07-cr-03117-RGK-DLP           Doc # 122      Filed: 04/29/08      Page 2 of 2 - Page ID # 445




       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the Star semi-automatic handgun, serial number

015909, held by any person or entity, is hereby forever barred and foreclosed.

       C. The Star semi-automatic handgun, serial number 015909, be, and the same hereby is,

forfeited to the United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

property in accordance with law.

       DATED this 29th day of April, 2008

                                                      BY THE COURT:

                                                      s/ RICHARD G. KOPF, JUDGE
                                                      United States District Court
